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                EXHIBIT 1
UNREDACTED VERSION
   OF DOCUMENT
SOUGHT TO BE SEALED
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10                               UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                   SAN FRANCISCO DIVISION

13
     WAYMO LLC                                         Case No. 17-cv-00939-JCS
14
                  Plaintiffs,                          PLAINTIFF’S FIRST SUPPLEMENTAL
15                                                     OBJECTIONS AND RESPONSES TO
          v.                                           UBER’S FIRST SET OF
16                                                     INTERROGATORIES (NOS. 1-11)
   UBER TECHNOLOGIES, INC.;
17 OTTOMOTTO, LLC; OTTO TRUCKING
   LLC,
18
             Defendants.
19

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                                                                                   No. 3:17-cv-00939-WHA
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 1 illustrative example, Waymo’s efforts to discover relevant evidence were thwarted by evasive

 2 testimony from Defendants’ employees Gaetan Pennecot (Pennecot Dep. 62:3-13, 69:14-15) and

 3 Daniel Gruver (Gruver Dep. 45:13-46:19) suggesting that                     used in Fuji did not

 4                         , which was later contradicted by testimony provided by James Haslim in

 5 his court-ordered deposition (Haslim May 4 Dep. 50:14-51:9), as well as by misleading testimony

 6 from Gruver (Gruver Dep. 51:4-15) suggesting that Velodyne’s LiDARs                                  ,

 7 which was later contradicted in Haslim’s court-ordered deposition (Haslim May 4 Dep. 165:1-11).

 8

 9                           SPECIFIC OBJECTIONS AND RESPONSES
10          Waymo expressly incorporates the above objections as though set forth fully in response to

11 each of the following individual interrogatories, and, to the extent that they are not raised in the

12 particular response, Waymo does not waive those objections.

13

14 INTERROGATORY NO. 1:

15          Identify each alleged Waymo trade secret from “Plaintiff’s List of Asserted Trade Secrets

16 Pursuant to Cal. Code Civ. Proc. Section 2019.210,” served on March 10, 2017, that You contend

17 is used by Uber, and identify all facts and Documents (by Bates number) that you believe support

18 Your contention.
19

20 RESPONSE TO INTERROGATORY NO. 1:

21          Waymo incorporates by reference its General Objections. Waymo further objects to this

22 interrogatory on the grounds that it is overbroad, unduly burdensome, and oppressive, including to

23 the extent that it asks Waymo to respond separately for each alleged Waymo trade secret. Waymo

24 further objects to this request to the extent it is compound, complex, and contains multiple

25 subparts. Waymo further objects to this interrogatory as premature to the extent it calls for
26 information that is subject to expert testimony.        Waymo will provide expert testimony in
27 accordance with the Court’s procedural schedule.

28

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 1          Subject to and without waiving the foregoing General and Specific Objections, Waymo

 2 responds as follows:

 3          The head of Defendants’ self-driving car program, Anthony Levandowski took from

 4 Waymo over 14,000 design files containing Waymo’s proprietary information, as well as other

 5 proprietary documents describing Waymo’s confidential trade secrets. See Declaration of Gary

 6 Brown (“Brown Decl.”); Deposition Transcript of Anthony Levandowski (“Levandowski Dep.”)

 7 at 20:9-24, 100:9-101:15, 115:3-16. The stolen files describe and contain certain of Waymo’s

 8 asserted trade secrets including Trade Secret Nos. 1-8, 14-17, 19, 20, 38, 39, 42, 43, 46, 48, 49, 62,

 9 63, and 75-109 from Waymo’s List of Asserted Trade Secrets.               See Dkt. No. 25-7.      Mr.

10 Levandowski, on behalf of Uber and in coordination with other Uber employees, including former

11 Waymo employees, used these files to design and build LIDAR designs and systems that include

12 information contained in and derived from Waymo’s trade secrets. See Levandowski Dep. at

13 20:9-24, 100:9-101:15, 115:3-16; see also Uber’s Response to Court Ordered Interrogatory No. 1,

14 Dkt. No. 265-1. They also used know-how contained in and derived from Waymo’s trade secrets

15 to determine risks and benefits associated with various LiDAR designs and systems, including

16 Trade Secret Nos. 110-121. See id. Further evidence of Uber’s use of Waymo’s asserted trade

17 secrets is provided below:

18          Trade Secret Nos. 1 and 4
19          Uber does not dispute that it uses Trade Secret Nos. 1 and 4. Uber uses Trade Secret No. 1

20 at least because

21

22                                                                                            Uber uses

23 Trade Secret No. 4 at least because the Fuji device includes

24

25                              Example documents describing Uber’s use of Trade Secret Nos. 1 and 4

26 include the following: Declaration of Scott Boehmke (“Boehmke Decl.”); Declaration of James
27 Haslim (“Haslim Decl.”), Ex. B; Deposition Transcript of James Haslim (“Haslim Tr.”) at 125:19-

28 126:1; WAYMO-UBER00000635; Fuji device produced for inspection; photographs of the Fuji

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 1 device, including UBER00006244-254, 272-274, 289-296; CAD drawings of the Fuji device,

 2 including UBER00011690-708, Document Production of Gorilla Circuits, including GOR

 3 000001-174.

 4         Trade Secret Nos. 2, 3, and 6
 5         Uber uses Trade Secret No. 2 at least because the Fuji device includes or is derived from a

 6

 7

 8                                             Uber uses Trade Secret No. 3 at least because the Fuji

 9 device includes or is derived from

10

11                                                                    Uber uses Trade Secret No. 6 at

12 least because the Fuji device includes or is derived

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25         Example documents describing Uber’s use of Trade Secret Nos. 2, 3, and 6 include the
26 following: Haslim Decl., ¶ 15, Ex. B; WAYMO-UBER00000635; Fuji device produced for
27 inspection; photographs of the Fuji device, including UBER00006244-254, 272-274, 289-296;

28

                                                      7                             No. 3:17-cv-00939-WHA
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 1 CAD drawings of the Fuji device, including UBER00011690-708, Document Production of

 2 Gorilla Circuits, including GOR 000001-174.

 3         Trade Secret No. 5
 4         Uber uses Trade Secret No. 5 at least because the Fuji device includes

 5                                                                                 Example documents

 6 describing Uber’s use of Trade Secret Nos. 2, 3, and 6 include the following: Fuji device produced

 7 for inspection; photographs of the Fuji device, including WAYMO-UBER00000635;

 8 UBER00006244-254, 272-274, 289-296; CAD drawings of the Fuji device, including

 9 UBER00011690-708, Document Production of Gorilla Circuits, including GOR 000001-174.

10         Trade Secret No. 7
11         Uber does not deny that it uses Trade Secret No. 7. Uber uses Trade Secret No. 7 at least

12 because the Fuji device includes

13

14

15                                                              Example documents describing Uber’s

16 use of Trade Secret No. 7 include the following: Deposition Transcript of Michael Lebby (“Lebby

17 Tr.”) at 58:16-23; Deposition of Gaetan Pennecot (“Pennecot Tr.”); Haslim Tr. at 64:49;

18 WAYMO-UBER00000635; Fuji device produced for inspection; photographs of the Fuji device,
19 including UBER00006244-254, 272-274, 289-296; CAD drawings of the Fuji device, including

20 UBER00011690-708.

21         Trade Secret No. 8
22         Uber does not dispute that it uses Trade Secret No. 8. Uber uses Trade Secret No. 8 at

23 least because the Fuji device includes

24

25

26 Example documents describing Uber’s use of Trade Secret No. 8 include the following:
27 WAYMO-UBER00000635; Fuji device produced for inspection; photographs of the Fuji device,

28

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 1 including UBER00006244-254, 272-274, 289-296; CAD drawings of the Fuji device, including

 2 UBER00011690-708; Document Production of Gorilla Circuits, including GOR 000001-174.

 3         Trade Secret Nos. 9 and 10
 4         Uber uses Trade Secret No. 9 at least because the Fuji device includes

 5

 6

 7

 8

 9                              Uber uses Trade Secret No. 10 at least because the Fuji device uses

10

11

12                                                                                             Example

13 documents describing Uber’s use of Trade Secret Nos. 9 and 10 include the following:

14 Supplemental Declaration of James Haslim (“Haslim Supp. Decl.”) ¶ 15; Supplemental

15 Declaration of Michael Lebby (“Lebby Supp. Decl.”) ¶ 25, including cited CAD drawing and

16                      ; UBER00006248; UBER00006251; UBER00011317; UBER00011473

17 UBER00011612; UBER00011613; UBER00011263; Pennecot Tr.; Haslim Tr. at 161:8-165:14,

18 194:6-17; Fuji device produced for inspection; photographs of the Fuji device, including
19 UBER00006244-254, 272-274, 289-296; CAD drawings of the Fuji device, including

20 UBER00011690-708; Uber’s Responses to Waymo’s Second Set of Expedited Interrogatory Nos.

21 10 and 11.

22         Trade Secret No. 13
23         Uber does not dispute that it uses Trade Secret No. 13. Uber uses Trade Secret No. 13 at

24 least because the Fuji device

25

26          Example documents describing Uber’s use of Trade Secret No. 13 include the following:
27 UBER00006246; WAYMO-UBER00000635; Fuji device produced for inspection; photographs of

28 the Fuji device, including UBER00006244-254, 272-274, 289-296; CAD drawings of the Fuji

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 1 device, including UBER00011690-708; Document Production of Gorilla Circuits, including GOR

 2 000001-174.

 3          Trade Secret No. 14
 4          Uber uses Trade Secret No. 14 at least because the Fuji device implements

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 6

 7

 8          Example documents describing Uber’s use of Trade Secret No. 13 include the following:

 9 Haslim Decl., Ex. B; Haslim Supp. Tr. at 114:4-115:23; WAYMO-UBER00000635; Fuji device

10 produced for inspection; photographs of the Fuji device, including UBER00006244-254, 272-274,

11 289-296; CAD drawings of the Fuji device, including UBER00011690-708; Document Production

12 of Gorilla Circuits, including GOR 000001-174.

13          Trade Secret No. 19
14          Uber does not dispute that it uses Trade Secret No. 19. Uber uses Trade Secret No. 19 at

15 least because the Fuji device includes

16

17

18                                                                      Example documents describing
19 Uber’s use of Trade Secret No. 13 include the following: UBER00011242; Fuji device produced

20 for inspection; photographs of the Fuji device, including UBER00006261-264, 275, 277, 279-258;

21 CAD drawings of the Fuji device produced for inspection.

22          Trade Secret Nos. 48 and 90
23          Uber uses Trade Secret No. 48 at least because the Spider device includes

24

25

26                                          Uber uses Trade Secret No. 90 at least because the Spider
27 device

28                                                                                             Example

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 1 documents describing Uber’s use of Trade Secret Nos. 48 and 90 include the following:

 2 UBER00005076;         UBER00005076;        UBER00005077;        UBER00011676;        UBER00011678;

 3 UBER00017389; Khirshagar Tr. at 34:6-37:4; Haslim Supp. Decl. ¶ 7; Haslim Tr. at 17:24-24:24;

 4 Haslim Dep. Ex. 150; Spider device produced for inspection; photographs of the Spider device,

 5 including UBER00006265-71.

 6          Trade Secret Nos. 94-99
 7          Uber uses Trade Secret Nos. 94-99 at least because the Fuji device includes

 8

 9

10                                                Example documents describing Uber’s use of Trade

11 Secret Nos. 94-99 include the following: Haslim Decl., Ex. B; WAYMO-UBER00000635; Fuji

12 device produced for inspection; photographs of the Fuji device, including UBER00006244-254,

13 272-274, 289-296; CAD drawings of the Fuji device, including UBER00011690-708; Document

14 Production of Gorilla Circuits, including GOR 000001-174.

15          Discovery is ongoing and Waymo reserves the right to supplement this response after

16 further discovery and investigation into Uber’s use of Waymo’s trade secrets.

17

18 INTERROGATORY NO. 2:
19          Separately for each alleged Waymo trade secret identified in response to Interrogatory No.

20 1, identify each Person who you claim has knowledge that Uber has used that trade secret, and

21 your basis for asserting that that person has knowledge of use of that specific trade secret.

22

23 RESPONSE TO INTERROGATORY NO. 2:

24          Waymo incorporates by reference its General Objections. Waymo further objects to this

25 interrogatory on the grounds that it is overbroad, unduly burdensome, and oppressive, including to

26 the extent that it asks Waymo to respond separately for each alleged Waymo trade secret. Waymo
27 further objects to this request to the extent it is compound, complex, and contains multiple

28 subparts.

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 1 00026483,      WAYMO-UBER-00026485,              WAYMO-UBER-00026486,              WAYMO-UBER-

 2 00026487,      WAYMO-UBER-00026488,              WAYMO-UBER-00026489,              WAYMO-UBER-

 3 00026490,      WAYMO-UBER-00026491,              WAYMO-UBER-00026492,              WAYMO-UBER-

 4 00026493,      WAYMO-UBER-00026495,              WAYMO-UBER-00026496,              WAYMO-UBER-

 5 00026497,      WAYMO-UBER-00026498,              WAYMO-UBER-00026500,              WAYMO-UBER-

 6 00026501,      WAYMO-UBER-00026502,              WAYMO-UBER-00026503,              WAYMO-UBER-

 7 00026504,      WAYMO-UBER-00026505,              WAYMO-UBER-00026506,              WAYMO-UBER-

 8 00026507,      WAYMO-UBER-00026508,              WAYMO-UBER-00026514,              WAYMO-UBER-

 9 00026516,      WAYMO-UBER-00026517,              WAYMO-UBER-00026519,              WAYMO-UBER-

10 00026521,      WAYMO-UBER-00026522,              WAYMO-UBER-00026525,              WAYMO-UBER-

11 00026526,      WAYMO-UBER-00026529,              WAYMO-UBER-00026530,              WAYMO-UBER-

12 00026531,      WAYMO-UBER-00026532,              WAYMO-UBER-00026533,              WAYMO-UBER-

13 00026534,      WAYMO-UBER-00026535,              WAYMO-UBER-00026536,              WAYMO-UBER-

14 00026539,      WAYMO-UBER-00026540,              WAYMO-UBER-00026543,              WAYMO-UBER-

15 00026544,      WAYMO-UBER-00026603,              WAYMO-UBER-00026604,              WAYMO-UBER-

16 00026725,      WAYMO-UBER-00026727,              WAYMO-UBER-00026888,              WAYMO-UBER-

17 00027015,      WAYMO-UBER-00027016,              WAYMO-UBER-00027017,              WAYMO-UBER-

18 00027018,      WAYMO-UBER-00027019,              WAYMO-UBER-00027020,              WAYMO-UBER-
19 00027034,      WAYMO-UBER-00027035,              WAYMO-UBER-00027037,              WAYMO-UBER-

20 00027038,      WAYMO-UBER-00027039,              WAYMO-UBER-00027040,              WAYMO-UBER-

21 00027041.

22         Waymo will further investigate this interrogatory and will supplement its response if

23 necessary.

24 DATED: July 13, 2017                        QUINN EMANUEL URQUHART & SULLIVAN,
                                               LLP
25
                                                 By /s/ Charles K. Verhoeven
26
                                                    Charles K. Verhoeven
27                                                  Attorneys for WAYMO LLC

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